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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11
12   ORLANDO GARCIA,                              Case No.: CV 20-11442-DMG (JEMx)
13                 Plaintiff,                     JUDGMENT
14
15   v.
16   WELCOME EL SEGUNDO, LLC, a
     California Limited Liability Company,
17
                   Defendant.
18
19
20        Pursuant to the Court’s Order granting Defendant’s Motion to Dismiss,
21        IT IS ORDERED, ADJUDGED, AND DECREED that the above-captioned
22 action is DISMISSED WITH PREJUDICE. Judgment is hereby entered in favor of
23 Defendant and against Plaintiff.
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25   DATED: November 17, 2021
                                        DOLLY M. GEE
26                                      UNITED STATES DISTRICT JUDGE
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